Case:16-02484-vad Doc #:32 Filed: 02/22/17 Page 1 of 19

UNITED STATES BANKRUPTCY COURT
WBSTERN DISTRICT OF MICHIGAN

COVER SHEET FOR AMENDMENTS

 

CASE NAME; Dustin N'|. Co|eman

 

CASE NUMBER: 16-02484

 

The enclosed documents amend the matrix, schedules and/or list of creditors previously filed in this case. Please
check the appropriate boxes:

The purpose of this amendment is to:

l§
§§

l:l

l?!:l

Add creditors How many‘?

Correct the addresses of creditors already listed on the schedules and matrix previously filed. (Use back
of this form)

File new schedules because the case has been converted to another chapter and amendments are required
by the court rules

Ol;hel‘ (pl€aSe explain) amend Schedu|es AIB & C to disclose omitted assets and exemptions, amend S.O.F.A #4;
amend Schedu|e J to add 1 year old son

 

 

THE FOLLOWING DOCUMENTS ARE ATTACHED:

|:l

$31.00 AMENDMENT FEE. This fee is required whenever you add creditors to a case. The fee is not
required when correcting addresses of previously listed creditors lt is not required when new schedules
are filed in a converted case.

AMENDED SCHEDULES AND LIST OF CREDITORS. Send the original and as many copies as are
required by Local Bankruptcy Rule 1007.1. Schedules must be verified by the debtor(s).

 

 

MATRIX. Send a matrix in the new format, listing only the amended creditors being added. Please
do not send a matrix adding creditors to a case unless you also send the amended schedules Do not send
a new matrix to correct an address _ use the back of this form. The creditor matrix must adhere to the
form required by the Clerk. Effective July 9, 2003, the Clerk’s Ofiice will only accept creditor matrices
on diskette. The customer should save the matrix to disk in ASCII format, as a TXT tile. The matrix
should be saved on disk with a tile name of the debtor’s last name and first initial (i.e. SmithK.txt). The
verification of matrix is still required and must be submitted in hard copy along with the disk containing
the matrix tile. A Verification of Matrix form must be signed by the attorney preparing the matrix. (DO
NOT SIGN THE ACTUAL MATRIX.)

NOTE: BR 1009 requires the attorney amending such pleadings to notify parties affected by the amendments

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CORRECTTC}NS TO MAILING MATRIX

Use this form to make corrections to the names and addresses of any creditors or parties in interest Who are
listed on the current matrix of the case You may also delete names from the matrix by using this fotm.

 

***DO NOT USE THIS FORM TO 'ADD NEW CREDI'I`ORS TO THIS CASE.***

NAME DF CR.EDITOR. (AS it now appears)

 

Previous addresses
Please change to
the following

 

 

 

 

NAME OF CREDITOR (As it now appears)

 

Previous address:
Please change to
the following:

 

 

 

 

NAMB er7 ensorros cas it new appears

 

Previous address: ' » . ` - . _
Please change to
the following

 

 

 

sened=Q)S-HfL/€i»lwman

IF YOU HAVE MORE CI'IANGES IUST COPY TH.IS SHEET AND IGEEP TYP]NG

 

(amendform)
Rc.v. 03/31/06

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Fi|| in thisl information to identify your case and this filing:

Debtori Dustin M. Coleman
Firsi Name Middla Name Lasl Name

 

Debtor 2
(Spousa, if filing) First Name Middle Name i_asl Name

 

Unifed Slaies Bankruptcy Cour‘t for the: WESTERN D|STR|CT OF M|CH|GAN

 

Case"“mber 15'02484 l checkifihisis an
amended filing

 

 

Ofiicia| Form 106A/B
Schedule AIB: Property wis

 

 

in each category, separately list and describe ltems. List an asset only once. if an asset fits in more than one category, list tha asset in the category where you
think lt fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
|nformaiion. if more space ls needsd, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Dsscrlbe Each Resldence, Bul|ding, Land, or Other Rea| Estate \'ou Own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, buildingl |and, or similar property?

El No.`oo to Part 2.
l Yes. Where is the property?

 

 

 

 

 

1.1 What |B fha property? Check allihai apply _ 1 _ _ _ __
2600 S. Hollister Rd - Singie-fami|y horne ,gé.hot`¢ed:u¢{ S_¢¢_,L,rjed_¢iainisfe:r exemptions `Fui` z
Slreai address, if availabie, or olher descriplion _ - - - __th:e ali'iO`i.il'ii'Di'E_i'_ly:S'_EClll’e:€l lClallTiS on~SCh`€'dqu D.' l _

m Dup|ex or mu|il unit buildan refer-morsth Have lems Seqw-éd by-F(openy' n
m Condominium or cooperative -4 y ‘ ;-, ' -fj` '_ '_ ,_ - ..
|'_"| Manufaclured or mobile home
_ Current value of the Current value of the
OV|C| Ml 48866-0000 [:i Land entire property? portion you own?
Cily Siaie ZlP COdB l:l investment property $70,000.00 $70,000.00
L_`l T|meshare Descr|be the nature of your ownership interest
l:l ether _______ {such as fee slmple, tenancy by the entireties, or
Who has an interest in the property? cheek one a lle estawl» n k“°W"-
l oebior 1 only Fee Simple Subject to Mortgage
Clinfon l:l Debior 2 only
County
n Debt°rl and Dem°r 2 only E Check ifthis is community property
l:l Ai least one of the debtors and another (see insiruciions)

Other information you wish to add aboutthis item, such as local
property identification numbers

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any'entries for
pages you have attached for Part 'i. Write that number here ........................................................................... => $701000'00

Describe Your Vehicies

Do you own, leaee, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contracts end Unexpr'red Leases.

 

 

 

Officia| Form iOSAIB Schedule AIB: Properiy page 1
Sofiwars Copyrighi (c) 1996-2016 Best Case, LLC -wmv.bestcase.com Besl Case Elankn.iplcy

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Debtor'l Dustin N|, Coleman Case number (i'fknown) 16.{)2484

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

I:l No
l Yes
jijo not deduot'secured'claims or_ exemptions:' i="u_t
31 Mak Who has an interest in the property? Check one we amount-of any seemed claim$:on Sch._e.dmepl_ .
Niod i: l Debtori only 'Cr¢di!°rS-.Who'Ha_V-‘? qa'..m-.s »S.B¢‘.‘ir;edpy_Pr°Pe'ty'
Yea f . g D€bi°i 2 0an Current value of the Current value of the
Apprximaie mile -. ; __ |:|`Debtm 1 and Debfor 2 only entire property? portion you own?
01th " ‘ f i:i At least one of the debtors and another
Ei check if this rs community property $1,500-00 $1,500.00
(see insinrctions)

 

 

 

 

-"Do`_riot;de'duct- secured claims orexer:n'p_t:'i_o'ns. l5ui" .

 

 

 

3.2 Who has an interest in the property? check one :'me ampun:fo-f any-Secur'e-d claims`on;$chedwe D:.._
l pewa only .Credffef.$."!he nerve Ceim$.?$ecwefiPY-P*¢P€'f’r- __-
E Debfor 2 On|t' Current value of the Current value of the
A proximate mile ge: |:| peggy-1 and Debioy 2 only entire property? portion you own?
Oi €i infOFmBiiOni l:l At least one of the debtors and another
\'/ Ei check lrthis is community property $1,500-00 $1,500-00
(see instructional

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exarnpies: Boats, trailers, motors, personal watercraftl fishing vesseie, snowmobiies, motorcycle accessories

l No
ij Yes

 

5 Add the dollar value of the portion you own for ali of your entries from F’art 2, including any entries for

.pages you have attached for Part 2. Write that number here ............................................................................. => $3»000'00

 

 

 

Descrlbe Your Perscnal and Household items
`_D__o_yofu__own or have any legal or e`ou`itabl'e interest in any of the following item_s_?- ' _ _ v _ 1 ;Cujrr`e;r:tt_ value ct the
' ~ ' ` ` . . - . ' . ' portion yo_ujowit? "
- `Do'_not deduct secured
-cialmsior e'xempiions."

 

   
 

6. Ho sehold goods and furnishings
E mpies: Nlajor appliances, furniture, |inens, china, kitchenware
No

Yee. Describe.....

 

lordinary household goods and electronics $5,000.00

 

 

7. E|ectronics
Exampies: Televisions and radios; audio, video, stereo, and digital equipment computers, printers, scanners; music coilections; electronic devices
including cell phones, camerasl media piayers, games

- No
l:l Yes. Describe.....
B. Coiiectib|es of value

Exampi'es: Antiques and figurines; paintings, prints, or other artwork; books, picturesl or other art objects; stamp, coin, or baseball card coilections',
other coilections, memorabilia, coilectibies

- No
i:i Yes. Describe .....

Ofi`lcia| Form 106AIB Schedule A)'B: Property page 2
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DEber 1 Dustin M. Coleman Case number (i'fkriown) 16»02484
9. Equipment for sports and hobbies

Exampies: Sportsl photographic exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments
- No

l:l Yos. Describe .....

10. Firearms
Exampies: Plstols, rifles, shotguns, ammunition. and related equipment

l No
i:l Yes. Describe .....

lothes

mpies: Everyday clothes, furs, leather coats, designer wearl shoes, accessories
No

Yes. Describe .....

 

l wearing apparel l $500.00
12. Jewelry

Exampies.' Everydayjewe|ry, costume jewelryl engagement ringsl wedding rings, heirloom jewelry, watches, gems, go|d, silver
- No

Yes. Describe.....

n-farm animals
ampies.' Dogs, cats, birds, horses
o

- es. Describe.....

 

| 2 dogs | $100.00

14. Any other personal and household items you did not already list, including any health aids you did not list
- No

i:| Yes. Give specific information.....

 

15. Add the dollar value of all of your entries frorn Part 3, including any entries for pages you have attached
for Fart 3. Write that number here ............................. $51600'00

 

 

 

 

Describe Your Flnanc|ai Assets

Do you own or have ajn`y`leg"ai o`r_equit`a`bie interest-in any of the foilowirig?. - . qu`r_`re:nt',valu`e_fpf_the_z
;'jf - 1 ' _ _ -j , ` -_ - j portion you§own?";-

_ D_,=i _ii¢tda¢ucise.cted.
' claims or exemptions -
16. Cash

Exemp!es: Nioney you have in your waiietl in your home, in a safe deposit box, and on hand when you h|e your petition
- No

Yes ..........................................

17. De osits of money
Ex mp!es: Checking, savings, or other hnancia| accounts; certificates of deposit; shares in credit unions. brokerage houses, and other similar
institutions ifyou have multiple accounts with the same institution, list each.
o

l Yes ________________________ institution name:

17.1. checkingisavings Journey Fed Credit Union

 

 

 

 

$10.00
17.2. checking LAFCU $5.00
thcial Form 106A/B Schedule Ale Property page 3

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Debtor 1 Dus|-jn M, Coleman Case number (iri<nown) 16-02454

18. Bonds, mutual funds, or publicly traded stocks
Eiramp!es: Bond funds, investment accounts with brokerage firms, money market accounts

- No
l:l Yes ,,,,,,,,,,,,,,,,,, institution or issuer name:

19. Non-pubi|ciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

lNo

i:i Yes. Give specific information about them..................,
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks. cashiers’ checks, promissory notes, and money orders.
iven-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

lNo

l:i Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Exampies: interests in lRA, ER|SAl Keoghl 401(|<), 403(b), thrift savings accounts, or other pension or profit-sharing plans

-No

i:i Yes. List each account separately
Type of account: institution name:

22. Securlty deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Exampi'es: Agreements with landlords, prepaid rentl public utilities (e|ectric, gas, water), telecommunications companiesl or others

lNo

l:l Yes. ,,,,,,,,,,,,,,,,,,,,, institution name or individua|:

23. Annulties (A contract for a periodic payment of money to you, either for life or for a number of years)
l No
|:| Yes_____________ issuer name and description.

24. interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b). and 529(b)(1).

- No
[| Yes _____________ institution name and descriptionl Separate|y file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1)l and rights or powers exercisable for your benefit
l No
|:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exampies.' internat domain namesl websites, proceeds from royalties and licensing agreements

INo

|:l Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Exampies: Buiiding permits, exclusive |icensee, cooperative association holdingsl liquor licenses, professional licenses

-No

i:l ‘(es. Give specific information about them...
iiiior_iey or property owed to you? Current vai_`u_e_`of _t_he
' . portio_riyou o_wn?
;De net deductse¢iired

28. Tax refunds owed to you
l No
|:| Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

Officiai Form 106A/B Schedule AIB: Property page 4
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Deblori Dustin M.Coleman Case numberii'fknown) 16-02484

 

29. Famiiy support
Exarnpies: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement

- No
i:| Yes. Give specific information ......

30. Other amounts someone owes you
Examp!es: Unpaid wages, disability insurance payments, disability benehts, sick pay, vacation pay, workers’ compensationl Sociai Securlty
benefits; unpaid loans you made to someone else

l No
l:| Yes. Give specific information..

31. interests in insurance policies
Exampies: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's. or renter‘s insurance

-No

l:l Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because
someone has died.

- No
|:i Yes. Give specific information.,

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidents, employment disputes, insurance claims, or rights to sue

l No
l:l Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No
L_.l Yes. Describe each claim .........

35. Any financial assets you did not already list
l No
l:l Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... $15'00

 

 

 

Describe Any Business-Re|ated Property You Own or Have an interest in. List any real estate in Part 1.

 

3?. Do you own or have any legal or equitable interest in any business-related property?
l No. soto Part e.

m Yes. Go to line 38.

Part 6: Describe Any Farrn- and Corrimercial Flshlng-Re|ated Property You own or Have an interest ln.
ifyou own or have an interest in farmlandl list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part?.

l:l Yes. Go to line 47.

oosorioe Aii Property von own or Have an interest in That You oid Not List Avove

 

53. Do you have other property of any kind you did not already list?
Exampies: Season tickets, country club membership

l No
|:l Yes. Give specific information .........

Officia| Form106A/B Schedule AlB: Pi'operty page 5
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Dustin M. Coleman Case number (iri<nown) 15.02434

 

 

   

d-the dollar value of afl of your entries from Part 7. Write that number here .................................... $0.00

 

 

 

List the voters or Eacn Part orthis Form

 

55. Part1: Total real estate, line 2 ..................
56. Part 2: Total vehiclesl line 5
57. Part 3: Total personal and household ltems, line 15

$70,000.00

 

$3,000.00

$5,600.00

58. Part 4: Total financial assets, line 36 $15.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $O_DD
61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61 Copy personal property total

$8,6'|5.00 $8,615.00

 

63. Total of all property on Schedule AIB. Add line 55 + line 62 $73,615_00

 

 

 

Off`icial Form 106AIB ` Schedule Ale Property page 6
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Fill in this information to identify your case:

Debtori Dustin M. Coleman
Firsl Name Middle Name Lesl Name

Debtor 2
(Spouse il, filing) Firsi Name Mlddle Name Lest Name

 

United Sfates Bankruptcy Court for the: WESTERN D|STR|CT OF |VIlCHlGAN

 

Case number 16-02484
rif knowni l Check if this is an
amended Hling

 

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 4116

Be as complete and accurate as possible if two married people are H|ing together, both are equally responsible for supplying correct information Using
the properly you listed on Schedule A/B: Property (Official Form 106A)'B) as your souree, list the properly that you claim as exempt. lf more space is
neededl fill out and attach to this page as many copies of Part 2: Addr'fionai Page as necessary On the top of any additional pagesl write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption 0f100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amountl your exemption would be limited
to the applicable statutory amount.

identify the Property You C|aim as Exempt
1. Which set of exemptions are you ciaiming? Check one only, even if your spouse is hilan with you.

|:l ‘r'ou are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b)(3)

l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

    

/)_'_io resisteer exemptian

 

 

 

 

 

 

 

 

 

 

 

2600 S. Ho||ister Rd Ovid, Nll 48866 $-m 000_00 l $7 095_64 11 U.S.C. § 522(d)(1)
C|inton County ' '
Line from Schedule A/B: 1.1 m 100% of fair rket value, up to
any applicabl statutory limit
1995 Ford F150 $1,500_00 - / $1’500_00 11 U. S.C. § 522(d)(2)
Line from Schedule A/B: 3.1
l:l 100% of fa r market value, up to
any app|ic ble statutory limit
1999 Che\i'y Ca\l'alief $1 50000 - l $1 50000 11 U S.C. § 522(€|)(5)
Line from Schedule A/B: 3.2 ’ ’
m 100% of ir market value, up to
any app|i able statutory limit
ordinary household goods and $5 000_00 - $5 000_00 11 .S.C. § 522(d)(3)
electronics ' ’
Line from Schedule A/B: 6.1 5 100% off ir market value, up to
any appii ble statutory limit
wearing apparel $500_00 . \ $500_00 1 U.S.C. § 522(d)(3)

 

Line from Schedule A/B: 1 1 .1
E 100% of faidmarket value, up to
any applica ks statutory limit

\/"
Officla|-Form 1060 Schedule C: The Property ‘(ou Clalm as Exempt page 1 of 2
Soflware Copyn'ghi (c) 1996-2016 Besi Case, LLC -www,bestcase.com Elest Case Elani<ruptcy

 

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2 dogs $100.00

Line from Schedule A/B: 13.1

$100_00 11 u.s.c. § 522(¢)(3)

 

100% off ir market value, up to
any app|i able statutory limit

 

checkinglsavings: Journey Fed $10_00
Credit Union

/ $10`00 11 u.s.c. § 522(d)(5)

 

Line from Schedule A/B: 1 7.1

100% f fair market value, up to
any a plicab|e statutory limit

 

checking: LAFCU $5.00

$5_00 / 11 u.s.c. § 522(d)(5)

 

Line from Schedule A/B: 1 7.2

 

100% ffair market value, upi
any ap licable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?

/

,
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after e ate of adjustment.)

l:| Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l No
Cl No
l:l Yes

Official Form 1060
Software Copyrighl (o) 1996-2016 Elesl Cese. LLC - www.bestcase.oom

Schedule C: The Property ¥ou C|aim as Exempt

page 2 of 2
Best Case Bankruplcy

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Fill in this information to identify your case:

 

 

 

uebtori Dustin M_ Coleman Check ifthis is:

- An amended filing
Dehtor 2 ij A supplement showing postpetition chapter
(Spouse, if niing) 13 expenses as of the following date:
United States Bankruptcy Court for lhe: WESTERN D|STRICT OF iV||CHlGAN MM l DD l Y‘{YV

 

Case number 16.02484
(if known)

 

 

 

Officia| Form 106J
Schedule J: Your Expenses ms

 

 

Ee as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top cf any additional pages, write your name and case
number (lf known). Answer every question.

_Descrlbe Your Household
1. is this a joint case?

- No. Go to line 2.
l:i Yes. Does Debtor 2 live in a separate househo|d?

|:l No
|:l Yes. Debtor 2 must file Officia| Form 106J-2. Expenses for Separate Household of Debtor 2.

2. Do you have dependents? |:| No

Dependent’s Does dependent
live with you?

      
  

Do not list Debtor 1 and . Yes Fiiloutthis information for

Dependent’ lat|onshlpi-
Dethr 2. each dependent .............. D tof‘l'€r§[i:`btor 2

      

Do not state the
dependents names

 

 

 

 

3. Do your expenses include l No
expenses of people other than |.__|
yourself and your dependents? Yes

Estimate Your Ongolng l'lllonthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

 

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your income
lOfficia| Form 1 06|.)

 

 

 

 

 

4. The rental or home ownership expenses for your residence. include first mortgage
payments and any rent for the ground or lot. . $ U.OO

if not included in line 4:

 

 

 

 

4a. Real estate taxes 43. 3 0.00
4b. Property, homeowner's, or renter‘s insurance 4b. $ 0.00
4c. Home maintenance, repairl and upkeep expenses 4c. $ 40.00
4d. Homeowner’s association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Ofncial Form 106J Schedule J: Your Expenses _ page 1

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D€bt0r1 Dustin M. Coleman

6.

.<».~4

11.
12.

13.
14.
15.

16.

17.

18.
19.

20.

21.
22.

23.

24.

Oflicial Form 106.|

Utilities:

6a. Eiectricity, heat, natural gas

6b. Water, sewer, garbage collection

Bc. Telephone, cell phone, lnternet, satellitel and cable services
6d. Other. Specify:

Case number (if known) 1 6-02484

 

Food and housekeeping supplies

Chiidcare and children’s education costs

Ciothing, laundry, and dry cleaning

Persona| care products and services

Medical and dental expenses

Transportation. include gas. maintenance, bus or train fare.

Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitahle contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance

15b. Health insurance
150. Vehicle insurance
15d. Olher insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other.Specify:

 

17d. Other. Specify: ,

 

Your payments of alimony, malntenance, and support that you did not report as
deducted from your pay on line 5, Schedule i, Your income (Official Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in !ines 4 or 5 of this form or on Schedule i:

20a. Nlortgages on other property

20b. Real estate taxes

20b. Property, homeowner's, or renter’s insurance
20d. lvlaintenance, repair, and upkeep expenses
20a. Homeowner‘s association or condominium dues
Other: Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6a. $ 200.00
6b. $ 40.00
6c. $ 250.00
6d. $ 0.00
7. $ 300.00
8. $ 0.00
9. $ 30.00
10. $ 80.00
11. $ 25.00
12. $ 200.00
13. $ 0.00
14. $ 0.00
15a. $ 0.00
15b. $ 0.00
150. $ 0.00
15d. $ 0_00
16. $ 0.00
17a $ 0.00
17b. $ 0.00
17c. $ 0.00
17d. $ 0_00
18. $ 0.00
$ 0.00
19.
Yourlncome.
20a. $ 0.00
20b. $ 0.00
200. $ 0.00
20d. $ 0.00
20e. $ 0.00
21. +$ 0.00

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22b. Add line 22a and 22b. The result is your monthly expensesl

Calculate your monthly net lncome.
23a. Copy line 12 (your combined monthly income) from Schedule l.
23b. Copy your monthly expenses from line 220 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income

23a
23b.

230.

 

$ 1!165.00

 

 

 

 

 

 

$ "_“__
$ 1,165.00
$ 2,000.00
-$ 1,165.00
$ 835.00

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

- No.

 

l:| Ves. l Explain here:

Schedule J: Your Expenses

page 2

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Fill in this information to identify your case:

Debtor 1 Dustin M. Coleman

First Name Middle Name Lsst Name

De btor 2
(Spouse ifl lilirig) First Name Middle Name Lasl Name

 

United Sfates Bankruptcy Court for the: WESTERN DlSTRlCT OF M|CH|GAN

 

Case number 16-02484
(iiknown) l Check if this is an
amended filing

 

 

 

Ofiicial Form 107 _
Statement of Financial Affairs for individuals Filing for Bankruptcy 4i1e

Ee as complete and accurate as possible. if two married people are filing together, both are equafiy responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

m Give Deiaiie Aboui Your iiiiariiai status and where You i_ived Before

1. What is your current marital status?

  

l es. List ali of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 P_rior Address_: . Dates_j _D`e`b_to'r 2
- _' lived there ` ' _ lived there"
602 W Higham FFOm'TO? l:l Same as Deblor1 |:l Same as Deblor1

Sainl: Johns, Ml 48879 2012-2014 From_-ro;

 

3. Withln the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communi`iy property
states and territories include Arizona, Ca|ifornia, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washinglon and Wisconsiri.)

l No
|:l Yes. Nlake sure you fill out Schedule H: Your Codebtors (Official Form 106H).

   
   
  

Explaln the Sources of Your income

u have any income from employment or from operating a business during this year or the two previous calendar years?
' the total amount of income you received from all jobs and all businesses, including part-time activities
you are filing a joint case and you have income that you receive togetherl list it only once under Debtor 1.

|:| No
l Yes. Fiii in the deiaiis.

      

 

-;D'ebio'r-`i;;'z;-___ _ _ __ ____ __ __ __ ____ ___ regards z
Sources _of income Gr_os_s income Sources o_f_ income - - Gr_os_s income
Check ali that apply. `(before deductions and Check`aii that_a_ppl_y._ _ (be'_fore deductions
_ _ exclusions) ` ' '. ' and,exciusions)
For the calendar year: l Wa - - $4 500.00 l:i Wa es commissions
ges. commissionsl r 9 . ,
(January 1 to December 31, 2017 ) bonuses’ ups bonuses_ ups
|:j Operaung a business l:l Operating a business
Ofiicial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 'l

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Debtor1 Dustin M. Coleman Case number ""'k"°“'") 16'02484
benton _ _ __ Debtor2
Sources of income Gros`s incom _ . Sources of income Gross,incom`e`
Check_ai| that app|y. (_be_fo_re d`e_ clio_ns and 'Che_ck all that apply (_beforefdeduc_tions
" exclusio ` ' ' - ' ' and exclusions)
From January 1 of current year until - \M`g@S commissions $31,852.00 Wages, commissionsl
the date you filed for bankruptcy: bonuses t'ips ' b nuses' tips
' \_ _ _
l:l Operating a business Operat'"g a bus'“ess
For last calendar year: l Wa es wmmissions $27,519.00 iIl Wagss, commissions
(January 1 to December 31, 2015) bonusgs' t'ips ' bonuses. tips
l:l Operating a business m Operating a business
l
\__,,,.)L/

 

5. Did you receive any other income during this year cr the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other income are alimony; child support Sociai Securlty, unemploymentl
and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and gambling and lottery
winnings. if you are ming a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separate|y. Do not include income that you listed in line 4.

- No
|:| Yes. Fill in the detaiis.

  
 

 
     

-_29¢!5¢5¢_ j§_Dé_bt¢`f;:ii

drossfl`ncome'from ' Soi`.irc_es-_ofin`come -Gr'osslncojme<

 

__Source__s of income _ _
De'scribe_be|ow. - each source __ - Descrlbe b_eiow; (before__de'duct_ions
` * ~ -- _(b`efo_re_`_d_edu`ctions'fand ` ` ` ' `

g -snd'sx¢rusiens)~
exeiusisns) ' ~ '

List Certaln Payments Vou llilade Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

Ei No. Nelther Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
individual primarily for a personall family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
E| No. co to iine 7_
n Yes List below each creditorto whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. A|so, do

not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4)'01/19 and every 3 years after that for cases filed on or after the date of adjustmentl

l Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

l No. co to line 7_

n Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Aiso, do not include payments to an
attorney for this bankruptcy case.

Creditor'_s Name and Addre_ss Detes of payment Total amount Amount you Was this payment for ..L
paid still owe
'Ofiiclai Form 107 - - Statement of Flnanclal Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Dustin M.Coleman Case numberiirknow~) 16-02484

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an ocher, director, person in controll or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101_ include payments for domestic support obiigations, such as child support and

alimony.

. NQ .

El Yes. List all payments to an insider.

'insider's Name and Addrese Dates of payment Total amount Amount you Reason for this payment
f ‘ ' ' - ' ~ -paidr -_ __-stii|:owe ` '

8. _Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

- No

ij Yes. List all payments to an insider

insider Name_and`Address ` Dates of payment `To`tal amount '- 'A'mouht-`yoi.l= :R_ea:s'_on for_this payment
_' -_ ' ' _ paid :` `s_`tii`|`jowe `Inc|ude_ creditor's name "

m identify Legai Actions, Repossessions, and Forec|osures

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, cr administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces. collection suits, paternity actions, support or custody
modificationsl and contract disputes

. No

l:l Yes. Fi|| in the details

_Case title _ Nature `of the case _Court or agency - - - Sta_tus of_ the case-
-Case number - - ' ' - ' ' -. -.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details beiow.

l No.Gotolinoii_

|:| Yes. Fill in the information below.
:`.Cr@d'f°r`Name and Address Describe_fh_e Prop_e_rty._ __ _ _ -' _ Date_ _ y _ _; . _ _ Vel_u`e;°f_fhs
` ` _ ' "`PI‘°P°|“W
Explaln what happened '_ ' ‘

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

I No
|:l Yes. Fill in the detai|s.
Creditor N_ar_rie an`d`Address Describe_t_he"action the creditor took ' " Da'tejactio_n was _ -Ambun`t
_ _ _ taken _ __ _ _ __
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiverl a custodian, or another officiai?

l No
|:| ¥es

List certain sine and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
- No

l:| Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts . _ Date_s you gave Va|ue
per-person _ ' the.gif'ts
P_erson to Whom You Gave the Gift and
Address:
Officiai Form 107 ' - ' Statement of Flnancial Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 Dustin M_ Coleman Case number (irimown) 16~02484

14 Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
l No

L_.l ¥es. Fill in the details for each gift or contribution

Gi_f_ts or contributions to charities that total Describe what you contributed
more than $600 ' -
_Charity's Name
. Ad`dress` (Numi=or, s¢rooi, ciiy. sroio and ziP codoj

Dates you_ Va|ue
contributed ' `
Part 6: List Certain Losses

15 Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft fire, other disaster,
or gambling?

l No
l:l Yes. l-'i|l in the details

Describe the property you lost and Des_c`ribe _any insurance coverage for the loss
how- the loss occurred -

_ Date of_your Value `of property
include the amount that insurance has paid. List pending |-°-Ss: -- ' ' ' ' - - - lost

insurance claims on_ line 33 of Schedule A/B.' Property.
List Certaln Payments or Transfers

16 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
L_.l No

l Yes. Fiii in the details

Person Who _Was Paid

_____ Des_crip_t_ion_ and value: of any property Date payment -Ar_nount of_
Address transferred _ or transfer was ` payment
Emall or webslte address - made ` , '
Person Who Made the Payment, if Not You ` ` 4

Start Fresh Today

credit counseling course 5i3i16 $25.00

17 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

I No

|:l Yes. Fill in the details.

Person Who Was Paid Des`crlpti`on and value of any property Date payment _ _ Amou__nt of
;_Add_res_s _ transferred ` _ _ _ _ or transfer was payment

made _

18 Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property) Do not
include gifts and transfers that you have already listed on this statementl

- No
l:l Yes. Fill in the detai|s.
Person Who Received Transfer

Descrlption and value of Des`cribe_any_ property_or -D_ate transfer was
Address property transferred payments received or debts made
paid in exchange ' -
P`e`rson's relationship to you ' '

19 Withln 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

- No
l:l Yes. Fill in the detailsl
Name of trust Description and value of the property transferred Date 'i'ransfer was
made
Ofiiciai Form 107 Statement of Financla| Affairs for individuals Filing for Bankruptcy page 4
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Deblor1 Dustin M. Coleman Case number lifknown) 16-02484

 

 

List of Certain Financiai Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
soid, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutionsl

l No

l:l Yes. Fill in the detaiis.

Name of_ Financ_iai institution and Last _4 digits of Ty_p_e of__account or Date_accou_nt was _ Last balance

ZAdd_res_s'(Nam_bhr_,'siraet,city;-siai_e and ziP account number ._ instrument j_ . cigs_ed_’-Sold’ z before Q!Q$ing-.or

_Co_§ie]` ' ' ' ' ' - ' - ' ` ' mo`ved,`or " ` - -' -:tra_nsfe`r
1 transferred ' `

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

l No

[:l Yes. Fiii in the detaiis.

Name _o_f Fi_nanciai institution Who eise`_i_iza_d access to_ it? 'Describ`e_ti‘i`e contents -. Do_`yo`_u`s_till_. _

-Ad_dress iuumner,'stre'ei. city,_staie and ziP cedar Addre`ss` iuu`m`va`r, street city, ' - ' ` '_hajve it?f -
” . - siate'andzipcaee)- -' _ -.. ~_ -_

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No

E:l Yes. Fill in the detaiis.

:_N`a`me_pf_S'torage Faciiity Wh_o_eise has or had-access Des_cribe th`e_contents _ `Doj you stil_|"'

Address iuumbar, siree_t, city._si`ata and ziP coue) to l_t? - _ 4 _ _
, . . ; 4 - Add,r`e,s`_s (Num_ba_r,`_si_r¢ai, ciiy,
State and ZiP Codei`

have ira

m identify Property You Hoid or Control for Someone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

- No
El ¥es. Fiii in the detalis.
O_wner's Name Where is_the property? ' Describe the property _ _ " ';V_a|ue_

Addre_ss iiiu`mber, street city, state and zI_P cadet gi:£.;r@r- Slr°él» Cilv' Slal° and Z‘P

m Give Details About Environmenta| information

For the purpose of Part 10, the following definitions appiy:

- Envfronmenfai law means any federai, state, or local statute or regulation concerning poiiution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Sife means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiai, poliutant, contaminant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

l No
|:l Yes. Fill in the deta||s.
Name_of site Gov_ernme`ntai unit -En_vl_ronmenta| iaw, if you Date o_f notice
Addr'ess (Number. street ciiy, state and ziP cedar Address iNumbei-.` straei. ciiy. state ana know it '
ZiP Cocie)
- Ofliciai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 glenn ivi. cnisnmn Case nunneriirinm) 115-nailed

 

26. Have you notified any governmental unit of any release of hazardous moteriai?

l No

Ei Yes. i‘-’ltiintttedetails.
moreno - cccenimuiutulnlt -.- y environm*iliiiliiillw,niil)u \-_- ,='nl,l_i§ll;qfnctlce ~
reooinunmr mmcny.ameoidli>conni dumontuwninr.~'iiunu,clnf,autpaml\ know _ . _-"_--._. -

\-pz‘ ......

26. Have you been a party iri any judicial or administrative proceeding under any environmental iaw? include settlements and cream

l Nc
i:i Yes. Fill in nn details

e _.

  

.Gi,ijii'~ii.o,r'onnl'iiiy,.- .;
n ll:~'.l _.

   

.:A'ei' _4 insist

 

. . .' mall
_siato.anozl'.codoi"'. .'-. .

m lee Details Aboth Your Business or ¢onneotions to Any Bttsigsea

2?. Within dyears before you filed for bankruptcy, did you own business or have any of the following connections to any btlalness?
cl A sole proprietor or self-employed in a trade, profession, or other activity, either'fnll-fime or part-time
i:l A member cfa limited liability company (LLC) or limited liability partnership {LLP)
ij A partner in a partnership
i;i An offloer, directory or managing executive of a corporation
[I} An owner ofat least 6% of the voting or equity securities of a corporation

l No. Nono of tile above applies Go to Part 12.

m Yes. Gltocit nil that apply above and fill iri the details below fpr each business

Buajnnse Nui_ne.
Addrosis_
. litem

Empinyerm_atngi§diion loquitur l . -
. ._ $.'fri`rii olin limit weir conn

D'o` n'ol tile ial$lc _rii.y `i.ii'l'lbel‘ol'i'l'l¢'|l. -

   

         

l

28. Withln a years before you filed for bankruptcy, did you give a financial statement to anyone about your husiness? include ali financial
lnstittltiot‘ls, ureditore, brother partien_

- tito
L'.i Yes. Fill tn inc details bulow.

Name - ' alteration '.

in dams _ \ -

iiinliiiiior'.aiieet Giiy. initii'endzir coast . ~ . - - . , , $
Mn Below

i have lead the answers on this Slaiement ofFi'nanoioMl‘i'afrs and any ai.“uiichmentsl audi declare under penalty of perjury that the answers
are true and correct l undemband that making a false savannah concealing proper¢yl or obtaining money or property by fraud' ln connection

with a bankruptcy n result m fines up to $250,000, or imprisonment for up to 20 years. or both.
18 52. 'l land 35?1-
l ' /-l.»-~'

 

 

 

 

Dustiri'nli. Golem"an Sianar.ure ofnenior 2
$igriature of n btor 1
van f 519/l 7 can

Did you attach additional pages to ‘foiir attire-ment ofr=’l‘nanctamrrarrs for individuals Filing for Bankruptcy (Oiilciai Form 101)?
. No
ill Yes

' 'Did you pay or agree to pay someone who ls not an attorney to help you fill out bankruptcy forme?
l No

Ei Yes. Name or Person . Attaol the Bankruptcy Petl'rl'on Plcptlmrs Notroa. annotation ann signature (oiri¢;isi Form its).
olilaal Form 107 . statement of Flnancial Affairs for individuals Filing _for Baniiniptcy ` page s
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Debtor1 Dustin M. Coleman C&S€ numbel‘ll'fknown) 16-02484

Ofiicial Form 107 Statemont of Financial Affairs for individuals Filing for Bankruptcy page 7

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